
94 N.Y.2d 891 (2000)
In the Matter of ROBERT A. FICALORA, Appellant,
v.
PLANNING BOARD OF TOWN OF EAST HAMPTON et al., Respondents.
ROBERT A. FICALORA, Appellant,
v.
JOSEPH GUARNERI et al., Respondents.
Court of Appeals of the State of New York.
Submitted January 18, 2000.
Decided February 24, 2000.
Motion, insofar as Robert A. Ficalora seeks leave to appeal purportedly on behalf of Montauk Friends of Olmsted Parks, Inc., dismissed upon the ground that Robert A. Ficalora is not the authorized legal representative of said movant; motion for leave to appeal by Robert A. Ficalora on his own behalf denied.
